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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF ALABAMA
                           EASTERN DIVISION

TAMMY JAMES and KEITH                     )
JAMES,                                    )
                                          )
              Plaintiffs,                 )
                                          )
       v.                                 )       CASE NO. 3:18-CV-698-WKW
                                          )
DISH NETWORK, L.L.C. and                  )
CONVERGENT OUTSOURCING,                   )
INC.,                                     )
                                          )
              Defendants.                 )
                                          )
                                          )
DISH NETWORK, L.L.C.,                     )
                                          )
              Third-Party Plaintiff,      )
                                          )
       v.                                 )
                                          )
JIMMY LONG,                               )
                                          )
              Third-Party Defendant.      )

                                       ORDER

      On consideration of the parties’ Joint Stipulation of Dismissal with Prejudice

(Doc. # 44) and Stipulation of Dismissal of Third-Party Complaint with Prejudice

(Doc. # 45), which comport with Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil

Procedure, this action has been dismissed with prejudice by operation of Rule 41, on

the terms agreed to and set out by the parties.
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 The Clerk of the Court is DIRECTED to close this case.

 DONE this 30th day of April, 2019.

                                            /s/ W. Keith Watkins
                                      UNITED STATES DISTRICT JUDGE




                                  2
